         Case 2:18-cr-00193-NIQA Document 148 Filed 02/12/19 Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              :
                                                      :
                v.                                    :
                                                      :       CRIM. NO. 18-193
DKYLE JAMAL BRIDGES                                   :
KRISTIAN JONES                                        :
ANTHONY JONES                                         :


       GOVERNMENT’S REPLY IN FURTHER SUPPORT OF ITS PREVIOUSLY
      CONDITIONALLY GRANTED MOTION TO ADMIT AUDIO RECORDINGS

       The arguments raised in defendant Kristian Jones’s recently filed Revised Response in

Opposition to the Government’s Motion to Admit Audio Recordings (ECF No. 140)—which

motion was long ago filed (ECF No. 59) and granted (ECF No. 80)—lack merit. To minimize the

risk of further dispute at trial over the admissibility of the recorded jail calls that the Government

plans to introduce, however, the Government briefly replies to Jones’s contentions and confirms

its intent to offer calls from the Federal Detention Center in Philadelphia (FDC-Philadelphia), the

Worcester County Detention Center in Maryland, and Delaware County Correctional Facility in

Pennsylvania.

       In short, and contrary to Jones’s argument, the audio recordings the Government plans to

introduce into evidence were not obtained in violation of the wiretap statute, do not violate the

Fourth Amendment, and are not precluded by Federal Rules of Evidence 401 and 403. Indeed,

Jones’s argument is predicated largely on selective quotes from cases that, in actuality, found the

jail calls admissible. Therefore, the Court should grant the Government’s motion and admit the

audio recordings at trial.


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            Case 2:18-cr-00193-NIQA Document 148 Filed 02/12/19 Page 2 of 6




I.      THE AUDIO RECORDINGS DO NOT VIOLATE THE WIRETAP STATUTE (18
        U.S.C. §§ 2510 ET SEQ.), BECAUSE BOTH THE CONSENT AND LAW-
        ENFORCEMENT DUTY EXCEPTIONS APPLY.

        Assuming that the Third Circuit would find that the wiretap statute (“Title III”) applies to

inmates’ jail calls, see ECF No. 140 at 3 n.2 (citing cases from other circuits), Jones glosses over

the extensive case law holding that recorded jail calls fall within Title III’s exceptions to the

general restriction on intercepting telephone calls. First, the statute permits such interception

without prior judicial authorization when “one of the parties to the communication has given prior

consent to the interception.” 18 U.S.C. § 2511(2)(c). As the very cases Jones cites make clear,

the legislative history surrounding the consent exception suggests it is meant to be construed

broadly, United States v. Amen, 831 F.2d 373, 378 (2d Cir. 1987), and consent may be either

express or implied. Id. It is thus unsurprising that courts—including the Third Circuit—have

repeatedly held that “the ‘consent’ exception applies to prison inmates, such as [the defendant],

required to permit monitoring as a condition of using prison telephones.” United States v.

Hammond, 286 F.3d 189, 192 (2d Cir. 2002) (collecting appellate cases); see, e.g., United States

v. Hodge, 85 F. App’x 278, 281 (3d Cir. 2003) (finding implied consent to interception based on

“notice of the taping of the calls”).

        Jones cannot credibly claim that he was unaware his jails calls were being recorded when

he chose to make those calls and engage in conversation.1 And his contention that he pursued


        1
           For example, before connecting a call and allowing communications to ensue at the
Worcester County Detention Center, a recorded warning announced that “[ca]lls are subject to
recording and may be monitored” and “[t]his call is subject to recording and monitoring.” At the
Delaware County Correctional Facility, the recorded warning similarly announced that “[t]his call
is . . . subject to monitoring and recording.” And at FDC-Philadelphia, the recorded warning
announced that “[t]his call is being recorded and is subject to monitoring. Hang up to decline the
call, or to accept dial 5 now.” See also, e.g., 25 C.F.R. § 540.102 (“The Warden shall establish
                                                 2
         Case 2:18-cr-00193-NIQA Document 148 Filed 02/12/19 Page 3 of 6




making those calls “out of necessity” has been appropriately rejected by other courts. See, e.g.,

United States v. Footman, 215 F.3d 145, 154-55 (1st Cir. 200) (rejecting prisoner’s argument that

“extracting consent as a condition of access to a telephone call by a prisoner means the consent is

not voluntary”) (cited favorably by the Third Circuit in Hodge, see 85 F. App’x at 281 n.2).

       Second, and independently, the wiretap statute permits interception “by an investigative or

law enforcement officer in the ordinary course of his duties.” 18 U.S.C. § 2510(5)(a)(ii). Courts

have repeatedly held that this law-enforcement duty exception applies to jail calls monitored and

recorded as part of a regular procedure at the facility—including in the very cases relied on by

Jones. See, e.g., Hammond, 286 F.3d at 192 (noting the facility was “acting pursuant to its well-

known policies in the ordinary course of its duties in taping the calls”); United States v. Feekes,

879 F.2d 1562, 1565 (7th Cir. 1989) (holding the law-enforcement exception was “clearly

satisfied”); United States v. Daniels, 902 F.2d 1238, 1245 (7th Cir. 1990) (same); United States v.

Cheely, 814 F. Supp. 1430, 1441-43 (D. Alaska 1992) (same); see also United States v. Clark, 651

F. Supp. 76, 79-80 (M.D. Pa. 1986) (same).

       Jones’s calls were clearly monitored and recorded as part of the facilities’ routine

procedures for all inmates, and did not involve “the ad hoc monitoring of a single inmate.” Cheely,

814 F. Supp. at 1442-43.       See, e.g., supra n.1.    The calls are therefore admissible under

§ 2510(5)(a)(ii)’s exception to the wiretap statute as well.




procedures that enable monitoring of telephone conversations on any telephone located within the
institution, said monitoring to be done to preserve the security and orderly management of the
institution and to protect the public. The Warden must provide notice to the inmate of the potential
for monitoring.”).
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         Case 2:18-cr-00193-NIQA Document 148 Filed 02/12/19 Page 4 of 6




II.    THE AUDIO RECORDINGS DO NOT VIOLATE THE FOURTH AMENDMENT,
       BECAUSE JONES HAD NO REASONABLE EXPECTATION OF PRIVACY IN
       HIS PRISON CALLS.

       Curiously, Jones cites only United States v. Shavers, 693 F.3d 363 (3rd Cir. 2012), vacated

on other grounds, 570 U.S. 913 (2013), in support of his Fourth Amendment argument against

admission of the jail calls. ECF No. 140 at 4. Shavers, however, explicitly stated that “prisoners

do not have a reasonable expectation of privacy when speaking on a prison telephone, especially

where a warning has been given.” Id. at 390 n.7 (3rd Cir. 2012) (emphasis added); accord, e.g.,

United States v. Clark, 651 F. Supp. 76, 81, 83 (M.D. Pa. 1994) (rejecting defendant’s Fourth

Amendment contention that he had a reasonable expectation of privacy in his jail calls, and finding

the calls admissible) (citing Hudson v. Palmer, 468 U.S. 517, 526 (1984)). Because Jones had no

reasonable expectation of privacy in his knowingly monitored jail calls, the Fourth Amendment is

no obstacle to their admission.

III.   THE AUDIO RECORDINGS DO NOT VIOLATE FEDERAL RULES OF
       EVIDENCE 401 AND 403, BECAUSE THEIR HIGH PROBATIVE VALUE IS NOT
       SUBSTANTIALLY OUTWEIGHED BY THE RISK OF ANY UNFAIR
       PREJUDICE ARISING FROM THE FACT THEY WERE MADE FROM JAIL.

       Jones concedes the “high” probative value of “statements of self-incrimination” on the jail

calls. ECF No. 140 at 5. His contention that “this probative value is substantially outweighed by

the overwhelming risk of unfair prejudice which arises from the fact that the phone calls were

placed from prison facilities,” id., however, is ill-founded.

       As an initial matter, the Government has no plans to “play the recordings in full,” id., or

otherwise to present a “‘constant reminder’ to the jury of the defendant’s condition so as to impair

the presumption of his innocence.” United States v. Faulk, 53 F. App’x 644, 647-48 (3rd Cir.

2002); see, e.g., Powell v. Link, No. 15-civ-5085, 2017 WL 7795393, at * 15 (E.D. Pa. Nov. 16,
                                                  4
           Case 2:18-cr-00193-NIQA Document 148 Filed 02/12/19 Page 5 of 6




2017) (recognizing that “[m]ere fleeting references to a defendant’s incarceration” do not create

such prejudice), adopted, 2018 WL 1071926 (E.D. Pa. Feb. 27, 2018).2 Rather, the Government

intends to play a small number of calls, or portions thereof, in which Jones discusses and evinces

his involvement in the charged sex trafficking enterprise. While the Government is still assessing

precisely which excerpts it will offer, the mere fact that Jones’s incarceration at the time of the call

might be disclosed is not a ground for exclusion. Indeed, seeking to redact such information may

“leave a chronological and conceptual void in the story,” United States v. Vretta, 790 F.2d 651,

655 (7th Cir. 1986), and leave the jury confused and speculating as to the circumstances under

which the calls were recorded and the statements made.

                                          CONCLUSION

       For the foregoing reasons, the Court should admit the Government’s proposed audio

recordings.

                                                       Respectfully submitted,

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                                                       s/ Jessica Urban
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Dated: February 12, 2019




       2
         Estelle v. Williams, which addressed compelling a defendant to wear identifiable prison
clothes throughout trial, is thus beside the point. 425 U.S. 501 (1976).
                                                   5
        Case 2:18-cr-00193-NIQA Document 148 Filed 02/12/19 Page 6 of 6




                               CERTIFICATE OF SERVICE

       I hereby certify that on February 12, 2019, I filed this document electronically using the

CM/ECF system and thereby caused a copy of the same to be served on all counsel of record.


                                            s/ Jessica Urban
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